Case 3:16-md-02741-VC Document 2559-31 Filed 01/25/19 Page 1 of 8




                EXHIBIT 30
               Case 3:16-md-02741-VC Document 2559-31 Filed 01/25/19 Page 2 of 8
Message
From:          HEYDENS, WILLIAM F [AG/1000] [/o=Monsanto/ou=NA-1000-01/cn=Recipients/cn=230737]
on behalf of   HEYDENS, WILLIAM F [AG/1000]

                               ■■■■■■
Sent:          11/6/2015 8:21:30 PM
To:            'John Acquavella'                  .com]
CC:            FARMER, DONNA R [AG/1000] [/o=Monsanto/ou=NA-1000-01/cn=Recipients/cn=180070]
Subject:       RE: John,Glyphosate Expert Panel Poster at 2015 SRA Annual Meeting




Hi John,




As we discussed on the phone, we are really sorry about the huge misunderstanding around authorship. Again, Donna
and I don't know how this happened ····· after we spoke on Wednesday, I checked with Ashley Roberts and Larry Kier, and
it was dear to them that you and Larry would not be considered panelists and thus not authors.




But the important thing is that we have all now come to the same understanding. As we said, upon reflecting on how
the scope of your involvement evolved and expanded over those 3 months, we understand your position on having you
as an author on the poster and subsequent publication. Larry's involvement and workload also grew to a much higher
level than initially anticipated, so I am going to contact him to explain your position and encourage him to similarly be an
author on the poster and publication as welL He is a little wary of being 'out there' these days, but Donna and I think he
will agree that his work on this project warrants authorship.




Anyway,. we're really glad we got this misunderstanding resolved satisfactorily for all - have a great weekend!




Bill




p.s. Congratulations again




From: John Acquavella                          .com]
Sent: Wednesday, November 04, 2015 10:57 AM
To: HEYDENS, WILLIAM F [AG/1000]
Cc: FARMER, DONNA R [AG/1000]
Subject: Re: John,Glyphosate Expert Panel Poster at 2015 SRA Annual Meeting




                                                                                                         MONGLY01030787
                     Case 3:16-md-02741-VC Document 2559-31 Filed 01/25/19 Page 3 of 8
Hi Bill/Donna:




The time is fine for me. It is 11.:30 AZ time (AZ is on mountain time in the fall/winter and Pacific time in spring/summer).




You guys know me. I can't be a part of deceptive authorship on a presentation or publication. Please note the ICJME guidelines below that everyone goes by to
determine what is honest/ethical regarding authorship.




Regards,




John




The International Committee of Medical Journal Editors (ICHviE) Recommendations for the Conduct,
Reporting, Editing and Publication of Scholarly Work in Medical Journals, states:

• Authorship credit should be based on (1) substantial contributions to conception and design, acquisition of
data, or analysis and interpretation of data; (2) drafting the article or revising it critically for important
intellectual content; (3) final approval of the version to be published and (4) agreement to be accountable for all
aspects of the work in ensuring that questions related to the accuracy or integrity of any part of the work are
appropriately investigated and resolved. Authors should meet conditions l, 2, and 3 and 4.

• When a large, multicenter group has conducted the work, the group should identify the individuals who
accept direct responsibility for the manuscript. These individuals should fully meet the criteria for authorship
defined above.

• Acquisition of funding, collection of data, or general supervision of the research group, alone, does not
justify authorship.

• AU persons designated as authors should qualify for authorship, and all those who qualify should be
listed.

• Each author should have participated sufficiently in the work to take public responsibility for appropriate
portions of the content.



From: "HEYDENS, WILLIAM F [AG/1000]" <william.f.heydens@monsanto.com>
Date: Wednesday, November 4, 2015 at 9:25 AM
To: John Acquavella ->




                                                                                                                                            MONGLY01030788
                Case 3:16-md-02741-VC Document 2559-31 Filed 01/25/19 Page 4 of 8
Cc: "FARMER, DONNA R [AG/1000]" <donna.r.farmer@monsanto.com>
Subject: RE: John,Glyphosate Expert Panel Poster at 2015 SRA Annual Meeting



Hi John,




Any chance that Donna & I could call you at 1:30 PM today our time?

If that doesn't work, how about 1 PM or even 12:30 PM our time?




Thanks,




Bill

From: HEYDENS, WILLIAM F [AG/1000]
Sent: Tuesday, November 03, 2015 3:34 PM
To: 'John Acquavella'
Subject: RE: John,Glyphosate Expert Panel Poster at 2015 SRA Annual Meeting




John,
We will have to pick this up tomorrow. Sorry.
Bill

-----Original Message-----
From: John Acquavella �]
Sent: Tuesday, November 03, 2015 02:55 PM Central Standard Time
To: HEYDENS, WILLIAM F [AG/1000]
Subject: Re: John,Glyphosate Expert Panel Poster at 2015 SRA Annual Meeting

I didn't realize that Bill. Also, I don't think that will be okay with my panelists. We call that ghost writing and it is
unethical.




Regards,




John




                                                                                                               MONGLY01030789
                   Case 3:16-md-02741-VC Document 2559-31 Filed 01/25/19 Page 5 of 8



From: "HEYDENS, WILLIAM F [AG/1000]" <william.f.heydens@monsanto.com>
Date: Tuesday, November 3, 2015 at 1:49 PM
To: John Acquavella �>
Subject: RE: John,Glyphosate Expert Panel Poster at 2015 SRA Annual Meeting




John,




I thought we discussed previously that it was decided by our management that we would not be able to use you or Larry
as Panelists/authors because of your prior employment at Monsanto - was that not your understanding? I'm really
sorry if there is any confusion on thaL




Bill




From:John Acquavella
Sent: Tuesday, November 03, 2015 2:33 PM
To: HEYDENS, WILLIAM F [AG/1000]
Subject: Re: John,Glyphosate Expert Panel Poster at 2015 SRA Annual Meeting




Bill:




The plan sounds fine" I don't see my name in the author list I should be where   is and he should be later in the alphabetical ordeL




Regards,




John




From: "HEYDENS, WILLIAM F [AG/1000]" <william.f.heydens@monsanto.com>
Date: Tuesday, November 3, 2015 at 1:09 PM
To: John Acquavella �>, Larry Kier�>
Subject: John,Glyphosate Expert Panel Poster at 2015 SRA Annual Meeting




                                                                                                                      MONGLY01030790
                  Case 3:16-md-02741-VC Document 2559-31 Filed 01/25/19 Page 6 of 8



John, Larry,




I have touched base with Ashley to discuss what the Author list should/could look like for the poster.




Our thoughts:

Gary Williams as first author as agreed previously

then those who lead the 4 sub-groups (in the same order as LARC: Exposure, Animal Bioassay, Epidemiology,
 Genetox/MOA)

and/or contributed at a higher level in the 4 groups -

follmved by all the other panelists in alphabetical order

then Ashley is the final author as being the facilitator and having overall oversight responsibilities



So it would look like this:




             Expert Panel Review of the Carcinogenic Potential of the Herbicide Glyphosate

 Gary Williams, Keith Solomon,                                , David Brusick,_, Marilyn Aardema, Michele M.
                                                            Burns,

       Joao Lauro Viana de Camargo, David Garabrant,                    Gary Marsh, Douglas Weed, and Ashley Roberts.

                      lntertek Scientific & Regulatory Consultancy Services, Mississauga, Ontario Canada.




See any problems from your perspectives"?




Thanks,




Bill



                                                                                                            MONGLY01030791
           Case 3:16-md-02741-VC Document 2559-31 Filed 01/25/19 Page 7 of 8




This e-mail message may contain privileged and/or confidential information, and is
intended to be received only by persons entitled

to receive such information. If you have received this e-mail in error, please notify the
sender immediately. Please delete it and

all attachments from any servers, hard drives or any other media. Other use of this e­
mail by you is strictly prohibited.



Ail e-mails and attachments sent and received are subject to monitoring, reading and
archival by Monsanto, including its

subsidiaries. The recipient of this e-mail is solely responsible for checking for the
presence of "Viruses" or other "Malware".

Monsanto, along with its subsidiaries, accepts no liability for any damage caused by any
such code transmitted by or accompanying

this e-mail or any attachment.




The information contained in this email may be subject to the export control laws and
regulations of the United States, potentially

including but not limited to the Export Administration Regulations (EAR) and sanctions
regulations issued by the U.S. Department of

Treasury, Office of Foreign Asset Controls (OFAC)   As a recipient of this information
you are obligated to comply with all

applicable U.S. export laws and regulations.




This e-mail message may contain privileged and/or confidential information, and is
intended to be received only by persons entitled
to receive such information. If you have received this e-mail in error, please notify the
sender immediately. Please delete it and
all attachments from any servers, hard drives or any other media. Other use of this e­
mail by you is strictly prohibited.




                                                                            MONGLY01030792
           Case 3:16-md-02741-VC Document 2559-31 Filed 01/25/19 Page 8 of 8

All e-mails and attachments sent and received are subject to monitoring, reading and
archival by Monsanto, including its
subsidiaries. The recipient of this e-mail is solely responsible for checking for the
presence of "Viruses" or other "Malware".
Monsanto, along with its subsidiaries, accepts no liability for any damage caused by any
such code transmitted by or accompanying
this e-mail or any attachment.


The information contained in this email may be subject to the export control laws and
regulations of the United States, potentially
.i ncluding but not limited to the Export Administration Regulations (EAR) and sanctions
regulations issued by the U.S. Department of
Treasury, Office of Foreign Asset Controls (OFAC)     As a recipient of this information
you are obligated to comply with all
applicable U.S. export laws and regulations.




This e-mail message may contain privileged and/or confidential information, and is
.i ntended to be received only by persons entitled
to receive such information. If you have received this e-mail in error, please notify the
sender immediately. Please delete it and
all attachments from any servers, hard drives or any other media. Other use of th.i s e­
mail by you is strictly prohibited.

All e-mails and attachments sent and received are subject to monitoring, reading and
archival by Monsanto, including its
subsidiaries. The recipient of this e-mail is solely responsible for checking for the
presence of "Viruses" or other "Malware".
Monsanto, along with its subsidiaries, accepts no liability for any damage caused by any
such code transmitted by or accompanying
this e-mail or any attachment.


The information contained in this email may be subject to the export control laws and
regulations of the United States, potentially
includinq but not limited to the Export Administration Regulations (EAR) and sanctions
requlations issued by the U.S. Department of
Treasury, Office of Foreign Asset Controls (OFAC)   As a recipient of this .i nformation
you are obli,gated to comply with all
applicable U.S. export laws and re,gulations.




                                                                              MONGLY01030793
